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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY


     BOTTA ANGELI, L.L.C.
     Christopher C. Botta, Esq.
     50 South Franklin Turnpike
     Ramsey, New Jersey 07446
     (201) 818-6400


     JOSEPH FEHL,                                       Civil Action No.: 2:17-cv-11462-KSH-CLW

                   Plaintiff,
            vs.                                                     CIVIL ACTION


     BOROUGH OF WALLINGTON, WITOLD
     BAGINSKI, in his individual and official             SUBSTITUTION OF ATTORNEY
     capacity as Business Administrator of
     Wallington, SEAN KUDLACIK, BERGEN
     COUNTY PROSECUTOR’S OFFICE, JOHN
     and JANE DOE(s) 1-10 (fictitious person yet to
     be identified),

                   Defendants.




            The undersigned hereby consent to the withdrawal of PFUND MCDONNELL, P.C., as

     counsel for Defendant, WITOLD BAGINSKI, and the substitution of BOTTA ANGELI, L.L.C.,

     as superseding counsel for Defendant, WITOLD BAGINSKI, in the above referenced action.


     BOTTA ANGELI, L.L.C.                             PFUND MCDONNELL, P.C.
     Superseding Counsel                              Withdrawing Counsel


         Christopher C. Botta                            Mary C. McDonnell
     By_______________________                        By________________________
       Christopher C. Botta, Esq.                       Mary C. McDonnell, Esq.

        Dated: August 20, 2018                         Dated: August 20, 2018
